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                                   UNITED STATES DISTRICT COURT
                                             DISTRICT OF PUERTO RICO

                                                   CATEGORY SHEET


              You must accompany your complaint with this Category Sheet, and the Civil Cover Sheet (JS-44).



Attorney Name (Last, First, MI):     Cobo-Estrella, Humbert F.

USDC-PR Bar Number:         230108

 Email Address:             hcobo@hcounsel.com



1.      Title (caption) of the Case (provide only the names of the first party on each side):

        Plaintiff:         Jose A. Cruz-Kerkado

        Defendant:         Commonwealth of Puerto Rico

2.     Indicate the category to which this case belongs:
            Ordinary Civil Case
            Social Security
            Banking
            Injunction

3.      Indicate the title and number of related cases (if any).




4.      Has a prior action between the same parties and based on the same claim ever been filed before this Court?

             Yes
             No

5.      Is this case required to be heard and determined by a district court of three judges pursuant to 28 U.S.C. § 2284?

             Yes
             No

6.      Does this case question the constitutionality of a state statute? (See, Fed.R.Civ. P. 24)

             Yes
             No



Date Submitted:

                                                                                                                     rev. Dec. 2009


                                                        Print Form             Reset Form
